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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


CINDY GAMRAT,

          Plaintiff,                      Case No. 1:16−cv−01094−PJG

   v.                                     Hon. Robert J. Jonker

EDWARD MCBROOM, et al.,

          Defendants.
                                      /

                           ORDER OF REFERENCE

       Review of the Joint Status Report filed with this Court on May 7, 2018,
reveals the parties in this case have voluntarily consented to have a United
States Magistrate Judge conduct any and all further proceedings in the case,
including trial and entry of final judgment. Therefore,
       IT IS ORDERED that this case be referred to Phillip J. Green, United
States Magistrate Judge, for all further proceedings and the entry of judgment
in accordance with 28 U.S.C. § 636(c), Fed. R. Civ. P. 73 and the foregoing
agreement of counsel. Any appeal shall be taken to the United States Court
of Appeals for this circuit, in accordance with 28 U.S.C. § 636(c) and Fed. R.
Civ. P. 73(c).

        IT IS SO ORDERED.


Dated: May 8, 2018                  /s/ Gordon J. Quist
                                   GORDON J. QUIST
                                   United States District Judge
